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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:14-CR-00248-LJO-SKO

12                                 Plaintiff,            FINAL ORDER OF FORFEITURE

13                          v.

14   JOSE FLORES,

15                                Defendant.

16

17          WHEREAS, on September 28, 2015, the Court entered a Preliminary Order of Forfeiture,

18 pursuant to the provisions of 21 U.S.C. § 853, and based upon the plea agreement entered into between

19 plaintiff and defendant Jose Flores, in the following property:

20                  a. Approximately $3,250.00 in U.S. Currency,

21                  b. White Apple iPhone #A1384,

22                  c. Black Nokia cell phone,

23                  d. AT&T LG cell phone model #Z992,

24                  e. Black Verizon LG cell phone, and

25                  f. Miscellaneous cell phones – LG & Coolpad Flow.

26          AND WHEREAS, beginning on October 10, 2015, for at least 30 consecutive days, the United

27 States published notice of the Court’s Order of Forfeiture on the official internet government forfeiture

28 site www.forfeiture.gov. Said published notice advised all third parties of their right to petition the


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 1 Court within sixty (60) days from the first day of publication of the notice for a hearing to adjudicate the

 2 validity of their alleged legal interest in the forfeited property;

 3          AND WHEREAS, the Court has been advised that no third party has filed a claim to the subject

 4 property and the time for any person or entity to file a claim has expired.

 5          Accordingly, it is hereby ORDERED and ADJUDGED:

 6          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of America all

 7 right, title, and interest in the above-listed property pursuant to 21 U.S.C. § 853, to be disposed of

 8 according to law, including all right, title, and interest of Jose Flores.

 9          2.      All right, title, and interest in the above-listed property shall vest solely in the name of the

10 United States of America.

11          3.      The Department of Homeland Security, Customs and Border Protection shall maintain

12 custody of and control over the subject property until it is disposed of according to law.

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     IT IS SO ORDERED.
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15      Dated:     December 15, 2015                           /s/ Lawrence J. O’Neill
                                                         UNITED STATES DISTRICT JUDGE
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